                         Case 17-40327-KKS                  Doc 33        Filed 12/20/18           Page 1 of 13
                                           UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF FLORIDA
                                                TALLAHASSEE DIVISION

              In re: WILSON, DON THORNTON                                                       § Case No. 17-40327-KKS
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on July 27, 2017. The undersigned trustee was appointed on July 27, 2017.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                  5,728.85

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                 0.00
                                    Administrative expenses                                                0.00
                                    Bank service fees                                                    110.00
                                    Other payments to creditors                                            0.00
                                    Non-estate funds paid to 3rd Parties                                   0.00
                                    Exemptions paid to the debtor                                          0.00
                                    Other payments to the debtor                                       3,901.32
                             Leaving a balance on hand of 1                         $                  1,717.53
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)
                         Case 17-40327-KKS                  Doc 33         Filed 12/20/18           Page 2 of 13
               6. The deadline for filing non-governmental claims in this case was 01/10/2018
       and the deadline for filing governmental claims was 01/23/2018. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $456.88. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $0.00 as interim compensation and now requests the
       sum of $456.88, for a total compensation of $456.88.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $85.60, for total expenses of
              2
       $85.60.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 11/14/2018                    By: /s/Mary W. Colon, chapter 7 trustee
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
                                           Case 17-40327-KKS                            Doc 33         Filed 12/20/18                 Page 3 of 13
                                                                                                                                                                                   Exhibit A


                                                                                   Form 1                                                                                          Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 17-40327-KKS                                                                   Trustee:         (290330)      Mary W. Colon, chapter 7 trustee
Case Name:         WILSON, DON THORNTON                                                     Filed (f) or Converted (c): 07/27/17 (f)
                                                                                            §341(a) Meeting Date:          08/21/17
Period Ending: 11/14/18                                                                     Claims Bar Date:               01/10/18

                                 1                                         2                            3                         4                    5                    6

                     Asset Description                                Petition/               Estimated Net Value            Property            Sale/Funds            Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled          (Value Determined By Trustee,      Abandoned            Received by        Administered (FA)/
                                                                       Values               Less Liens, Exemptions,         OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                          and Other Costs)                                                    Remaining Assets

 1        2132 Danshire Dr, Tallahassee, FL 32308-3859                   138,000.00                             0.00                                         0.00                      FA

 2        2003 Chevrolet Astro, 139500 miles, Needs work.                   1,000.00                            0.00                                         0.00                      FA

 3        Household Goods                                                      200.00                        200.00                                        200.00                      FA
           Exemption removed on amended schedules doc. 10

 4        TV, Laptop, Tablet                                                   300.00                           0.00                                       220.00                      FA
           exemption overage; Orig. Description: TV, Laptop,
          Tablet; Imported from original petition Doc# 1;
          Exemption: TV, Laptop, Tablet - Amount: 300.00

 5        Guitars and accessories                                              400.00                           0.00                                         0.00                      FA

 6        Old Clothes                                                           20.00                           0.00                                         0.00                      FA

 7        Watch, costume jewelry                                                 5.00                           0.00                                         0.00                      FA

 8        Checking Account: Centennial Bank                                     20.00                        136.43                                        136.43                      FA
           Asset value changed from $156.43 on amended
          schedules doc. 10; bank statement confirms balance
          of $156.43

 9        Savings Account: Centennial Bank                                     100.00                           0.00                                         0.00                      FA

10        Checking Account: First Commerce CU                                  300.00                           0.00                                         0.00                      FA

11        Ret. or Pension Acct.: IRA                                             0.00                           0.00                                         0.00                      FA

12        20 Gage Mossberg (u)                                                  75.00                           0.00                                         0.00                      FA
           Asset added on amended schedules doc. 10

13        2017 tax refund (u)                                              Unknown                          1,900.00                                   5,172.42                        FA
           total refund 5497 (3267 EIC); estate share 1271.10

 13      Assets        Totals (Excluding unknown values)                 $140,420.00                     $2,236.43                                    $5,728.85                     $0.00



      Major Activities Affecting Case Closing:

                  TDR

                  Motion to Pay doc. 27 filed.
                  returned debtor's voided check to Ms. Boone 4-17-18.
                  Promissory note-Equity interest in miscellaneous household goods and furnishings ($200); equity interest in TV laptop, tablet ($220); Centennial Bank checking
                  account ($136.43).
                  Total of $556.43 payable at the rate of $46.37 per month. Commence on November 15, 2017. Paid in full 3-26-18



                                                                                                                                               Printed: 11/14/2018 10:35 AM        V.14.14
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                                                                                                                                                                     Exhibit A


                                                                                Form 1                                                                               Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 17-40327-KKS                                                           Trustee:        (290330)       Mary W. Colon, chapter 7 trustee
Case Name:       WILSON, DON THORNTON                                               Filed (f) or Converted (c): 07/27/17 (f)
                                                                                    §341(a) Meeting Date:          08/21/17
Period Ending: 11/14/18                                                             Claims Bar Date:               01/10/18

                                1                                        2                      3                        4                  5                   6

                    Asset Description                               Petition/         Estimated Net Value           Property           Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled    (Value Determined By Trustee,     Abandoned           Received by      Administered (FA)/
                                                                     Values         Less Liens, Exemptions,        OA=§554(a)           the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                                Remaining Assets

                objections due by 11-8-17 re: NOITS; no objections were filed
                prepared & file NOITS doc. #17 (owed signed note)
                notice of assets filed doc. #14
                promissory note @ $556.43 to be signed sent 10-6-17

     Initial Projected Date Of Final Report (TFR):     October 1, 2018                Current Projected Date Of Final Report (TFR):       November 13, 2018 (Actual)




               November 14, 2018                                                             /s/ Mary W. Colon, chapter 7 trustee
          __________________________                                                         _________________________________________________________________
                         Date                                                                Mary W. Colon, chapter 7 trustee




                                                                                                                                      Printed: 11/14/2018 10:35 AM     V.14.14
                                            Case 17-40327-KKS              Doc 33           Filed 12/20/18                Page 5 of 13
                                                                                                                                                                         Exhibit B


                                                                            Form 2                                                                                       Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:         17-40327-KKS                                                           Trustee:            Mary W. Colon, chapter 7 trustee (290330)
Case Name:           WILSON, DON THORNTON                                                   Bank Name:          Rabobank, N.A.
                                                                                            Account:            ******0966 - Checking Account
Taxpayer ID #:       **-***7395                                                             Blanket Bond:       $10,276,000.00 (per case limit)
Period Ending: 11/14/18                                                                     Separate Bond: N/A

   1             2                          3                                4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                   Receipts          Disbursements           Checking
  Date      Check #           Paid To / Received From          Description of Transaction              T-Code              $                    $              Account Balance
11/17/17                   Wilson, Don                  Acct #1 NOITS DOC. #17; Payment #1; note                                  46.37                                    46.37
                                                        payment
               {3}                                        Acct #1 NOITS DOC.                16.67      1129-000                                                            46.37
                                                          #17; Payment #1; note
                                                          payment
               {4}                                        Acct #1 NOITS DOC.                18.33      1129-000                                                            46.37
                                                          #17; Payment #1; note
                                                          payment
               {8}                                        Acct #1 NOITS DOC.                11.37      1129-000                                                            46.37
                                                          #17; Payment #1; note
                                                          payment
11/30/17                   Rabobank, N.A.               Bank and Technology Services Fee               2600-000                                        10.00               36.37
12/15/17                   Wilson, Don                  Acct #1 NOITS DOC. #17; Payment #2; note                                  46.37                                    82.74
                                                        payment
               {3}                                        Acct #1 NOITS DOC.                16.67      1129-000                                                            82.74
                                                          #17; Payment #2; note
                                                          payment
               {4}                                        Acct #1 NOITS DOC.                18.33      1129-000                                                            82.74
                                                          #17; Payment #2; note
                                                          payment
               {8}                                        Acct #1 NOITS DOC.                11.37      1129-000                                                            82.74
                                                          #17; Payment #2; note
                                                          payment
12/29/17                   Rabobank, N.A.               Bank and Technology Services Fee               2600-000                                        10.00               72.74
01/16/18                   Wilson, Don                  Acct #1 NOITS DOC. #17; Payment #3; note                                  46.37                                   119.11
                                                        payment
               {3}                                        Acct #1 NOITS DOC.                16.67      1129-000                                                           119.11
                                                          #17; Payment #3; note
                                                          payment
               {4}                                        Acct #1 NOITS DOC.                18.33      1129-000                                                           119.11
                                                          #17; Payment #3; note
                                                          payment
               {8}                                        Acct #1 NOITS DOC.                11.37      1129-000                                                           119.11
                                                          #17; Payment #3; note
                                                          payment
01/31/18                   Rabobank, N.A.               Bank and Technology Services Fee               2600-000                                        10.00              109.11
02/14/18                   Wilson, Don                  Acct #1 NOITS DOC. #17; Payment #4; note                                  46.37                                   155.48
                                                        payment
               {3}                                        Acct #1 NOITS DOC.                16.67      1129-000                                                           155.48

                                                                                             Subtotals :                        $185.48               $30.00
{} Asset reference(s)                                                                                                                 Printed: 11/14/2018 10:35 AM       V.14.14
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                                                                                                                                                                            Exhibit B


                                                                              Form 2                                                                                         Page: 2

                                                    Cash Receipts And Disbursements Record
Case Number:         17-40327-KKS                                                              Trustee:            Mary W. Colon, chapter 7 trustee (290330)
Case Name:           WILSON, DON THORNTON                                                      Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******0966 - Checking Account
Taxpayer ID #:       **-***7395                                                                Blanket Bond:       $10,276,000.00 (per case limit)
Period Ending: 11/14/18                                                                        Separate Bond: N/A

   1             2                          3                                  4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From           Description of Transaction                T-Code              $                   $               Account Balance
                                                           #17; Payment #4; note
                                                           payment
               {4}                                         Acct #1 NOITS DOC.                 18.33       1129-000                                                           155.48
                                                           #17; Payment #4; note
                                                           payment
               {8}                                         Acct #1 NOITS DOC.                 11.37       1129-000                                                           155.48
                                                           #17; Payment #4; note
                                                           payment
02/28/18                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                        10.00              145.48
03/15/18                   Wilson, Don                   Acct #1 NOITS DOC. #17; Payment #5; noe                                    46.37                                    191.85
                                                         payment
               {3}                                         Acct #1 NOITS DOC.                 16.67       1129-000                                                           191.85
                                                           #17; Payment #5; noe
                                                           payment
               {4}                                         Acct #1 NOITS DOC.                 18.33       1129-000                                                           191.85
                                                           #17; Payment #5; noe
                                                           payment
               {8}                                         Acct #1 NOITS DOC.                 11.37       1129-000                                                           191.85
                                                           #17; Payment #5; noe
                                                           payment
03/26/18                   United States Treasury        2017 tax refund~#4030 82598940                                         5,497.00                                    5,688.85
               {13}                                                                         1,271.10      1224-000                                                          5,688.85
               {3}                                         Acct #1 NOITS DOC.                 16.67       1129-000                                                          5,688.85
                                                           #17; Payment #10
               {3}                                         Acct #1 NOITS DOC.                 16.67       1129-000                                                          5,688.85
                                                           #17; Payment #11
               {3}                                         Acct #1 NOITS DOC.                 16.63       1129-000                                                          5,688.85
                                                           #17; Payment #12
               {3}                                         Acct #1 NOITS DOC.                 16.67       1129-000                                                          5,688.85
                                                           #17; Payment #6
               {3}                                         Acct #1 NOITS DOC.                 16.67       1129-000                                                          5,688.85
                                                           #17; Payment #7
               {3}                                         Acct #1 NOITS DOC.                 16.67       1129-000                                                          5,688.85
                                                           #17; Payment #8
               {3}                                         Acct #1 NOITS DOC.                 16.67       1129-000                                                          5,688.85
                                                           #17; Payment #9
               {4}                                         Acct #1 NOITS DOC.                 18.33       1129-000                                                          5,688.85
                                                           #17; Payment #10
               {4}                                         Acct #1 NOITS DOC.                 18.33       1129-000                                                          5,688.85

                                                                                                Subtotals :                    $5,543.37                 $10.00
{} Asset reference(s)                                                                                                                   Printed: 11/14/2018 10:35 AM         V.14.14
                                            Case 17-40327-KKS                Doc 33          Filed 12/20/18                 Page 7 of 13
                                                                                                                                                                          Exhibit B


                                                                             Form 2                                                                                        Page: 3

                                                  Cash Receipts And Disbursements Record
Case Number:         17-40327-KKS                                                             Trustee:            Mary W. Colon, chapter 7 trustee (290330)
Case Name:           WILSON, DON THORNTON                                                     Bank Name:          Rabobank, N.A.
                                                                                              Account:            ******0966 - Checking Account
Taxpayer ID #:       **-***7395                                                               Blanket Bond:       $10,276,000.00 (per case limit)
Period Ending: 11/14/18                                                                       Separate Bond: N/A

   1             2                          3                                 4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From          Description of Transaction                T-Code              $                   $              Account Balance
                                                          #17; Payment #11
               {4}                                        Acct #1 NOITS DOC.                 18.37       1129-000                                                         5,688.85
                                                          #17; Payment #12
               {4}                                        Acct #1 NOITS DOC.                 18.33       1129-000                                                         5,688.85
                                                          #17; Payment #6
               {4}                                        Acct #1 NOITS DOC.                 18.33       1129-000                                                         5,688.85
                                                          #17; Payment #7
               {4}                                        Acct #1 NOITS DOC.                 18.33       1129-000                                                         5,688.85
                                                          #17; Payment #8
               {4}                                        Acct #1 NOITS DOC.                 18.33       1129-000                                                         5,688.85
                                                          #17; Payment #9
               {8}                                        Acct #1 NOITS DOC.                 11.37       1129-000                                                         5,688.85
                                                          #17; Payment #10
               {8}                                        Acct #1 NOITS DOC.                 11.37       1129-000                                                         5,688.85
                                                          #17; Payment #11
               {8}                                        Acct #1 NOITS DOC.                 11.36       1129-000                                                         5,688.85
                                                          #17; Payment #12
               {8}                                        Acct #1 NOITS DOC.                 11.37       1129-000                                                         5,688.85
                                                          #17; Payment #6
               {8}                                        Acct #1 NOITS DOC.                 11.37       1129-000                                                         5,688.85
                                                          #17; Payment #7
               {8}                                        Acct #1 NOITS DOC.                 11.37       1129-000                                                         5,688.85
                                                          #17; Payment #8
               {8}                                        Acct #1 NOITS DOC.                 11.37       1129-000                                                         5,688.85
                                                          #17; Payment #9
               {13}                                                                        3,901.32      1224-000                                                         5,688.85
03/30/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                       10.00             5,678.85
04/30/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                       10.00             5,668.85
05/29/18       101         WILSON, DON THORNTON         REFUND NON-ESTATE FUNDS PER ORDER                8500-002                                    3,901.32             1,767.53
                                                        DOC. 28
05/31/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                       10.00             1,757.53
06/29/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                       10.00             1,747.53
07/31/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                       10.00             1,737.53
08/31/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                       10.00             1,727.53
09/28/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                        5.00             1,722.53
10/31/18                   Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                        5.00             1,717.53




                                                                                               Subtotals :                         $0.00            $3,971.32
{} Asset reference(s)                                                                                                                  Printed: 11/14/2018 10:35 AM        V.14.14
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                                                                                 Form 2                                                                                         Page: 4

                                                    Cash Receipts And Disbursements Record
Case Number:         17-40327-KKS                                                                Trustee:              Mary W. Colon, chapter 7 trustee (290330)
Case Name:           WILSON, DON THORNTON                                                        Bank Name:            Rabobank, N.A.
                                                                                                 Account:              ******0966 - Checking Account
Taxpayer ID #:       **-***7395                                                                  Blanket Bond:         $10,276,000.00 (per case limit)
Period Ending: 11/14/18                                                                          Separate Bond: N/A

   1             2                            3                                   4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From               Description of Transaction                T-Code              $                  $               Account Balance

                                                                                ACCOUNT TOTALS                                      5,728.85              4,011.32          $1,717.53
                                                                                       Less: Bank Transfers                             0.00                  0.00
                                                                                Subtotal                                            5,728.85              4,011.32
                                                                                       Less: Payments to Debtors                                              0.00
                                                                                NET Receipts / Disbursements                       $5,728.85             $4,011.32

                           Net Receipts :                5,728.85
        Less Other Noncompensable Items :                3,901.32                                                                    Net             Net                    Account
                                                                                TOTAL - ALL ACCOUNTS                               Receipts     Disbursements               Balances
                                     Net Estate :       $1,827.53
                                                                                Checking # ******0966                               5,728.85              4,011.32             1,717.53

                                                                                                                                   $5,728.85             $4,011.32          $1,717.53




                 November 14, 2018                                                    /s/ Mary W. Colon, chapter 7 trustee
           __________________________                                                 _________________________________________________________________
                              Date                                                    Mary W. Colon, chapter 7 trustee




{} Asset reference(s)                                                                                                                       Printed: 11/14/2018 10:35 AM        V.14.14
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                                                          EXHIBIT C
                                                   ANALYSIS OF CLAIMS REGISTER                                         Claims Bar Date: January 10, 2018

Case Number: 17-40327-KKS                                           Page: 1                                                               Date: November 14, 2018
Debtor Name: WILSON, DON THORNTON                                                                                                         Time: 10:35:18 AM
Claim #   Creditor Name & Address                    Claim Type    Claim Ref. No. / Notes                   Amount Allowed                  Paid to Date      Claim Balance

          Mary W. Colon, chapter 7 trustee           Admin Ch. 7                                                           $85.60                     $0.00           85.60
200       P. O. Box 14596
          Tallahassee, FL 32317
          Mary W. Colon, chapter 7 trustee           Admin Ch. 7                                                         $456.88                      $0.00          456.88
200       P. O. Box 14596
          Tallahassee, FL 32317
CLERK     US BANKRUPTCY COURT                        Admin Ch. 7                                                         $335.00                      $0.00          335.00
200       110 East Park Avenue
          Suite 100
          Tallahassee, FL 32301
1         Doris Maloy, Leon County Tax Collector     Secured                                                           $1,197.99                      $0.00        1,197.99
 100      Post Office Box 1835                                     Post Office Box 1835
          Tallahassee, FL 32302-1835                               Tallahassee, FL 323021835
                                                                   --------------------------------------------------------------------------------
                                                                   History: Details1-108/15/2017Claim #1 filed by Doris Maloy, Leon County Tax
                                                                   Collector, Amount claimed: $1197.99 (admin)
                                                                   --------------------------------------------------------------------------------* * *


NOTFILED First Commerce Cu                           Secured       0801                                                     $0.00                     $0.00            0.00
100      2330 Mahan Dr
          Tallahassee, FL 32308-6129
2         Discover Bank                              Unsecured     9632                                              $15,774.66                       $0.00       15,774.66
 610      Discover Products Inc                                    Discover Products Inc
          PO Box 3025                                              PO Box 3025
          New Albany, OH 43054-3025                                New Albany, OH 430543025
                                                                   --------------------------------------------------------------------------------
                                                                   History: Details2-110/19/2017Claim #2 filed by Discover Bank, Amount claimed:
                                                                   $15774.66 (Wilson, Melissa )
                                                                   --------------------------------------------------------------------------------* * *



3         Discover Bank                              Unsecured     9281                                                $8,487.69                      $0.00        8,487.69
 610      Discover Products Inc                                    Discover Products Inc
          PO Box 3025                                              PO Box 3025
          New Albany, OH 43054-3025                                New Albany, OH 430543025
                                                                   --------------------------------------------------------------------------------
                                                                   History: Details3-110/19/2017Claim #3 filed by Discover Bank, Amount claimed:
                                                                   $8487.69 (Wilson, Melissa )
                                                                   --------------------------------------------------------------------------------* * *



4         Capital One Bank (USA), N.A.               Unsecured     1834                                                $6,189.09                      $0.00        6,189.09
 610      PO Box 71083                                             PO Box 71083
          Charlotte, NC 28272-1083                                 Charlotte, NC 282721083
                                                                   --------------------------------------------------------------------------------
                                                                   History: Details4-111/06/2017Claim #4 filed by Capital One Bank (USA), N.A.,
                                                                   Amount claimed: $6189.09 (Boswell, Ashley )
                                 Case 17-40327-KKS      Doc 33           Filed 12/20/18                    Page 10 of 13


                                                EXHIBIT C
                                         ANALYSIS OF CLAIMS REGISTER                                         Claims Bar Date: January 10, 2018

Case Number: 17-40327-KKS                                 Page: 2                                                               Date: November 14, 2018
Debtor Name: WILSON, DON THORNTON                                                                                               Time: 10:35:18 AM
Claim #   Creditor Name & Address          Claim Type    Claim Ref. No. / Notes                   Amount Allowed                  Paid to Date      Claim Balance

                                                         --------------------------------------------------------------------------------* * *

5         Midland Funding LLC              Unsecured     5173                                                $8,991.54                      $0.00        8,991.54
 610      PO Box 2011                                    PO Box 2011
          Warren, MI 48090                               Warren, MI 48090
                                                         --------------------------------------------------------------------------------
                                                         History: Details5-112/22/2017Claim #5 filed by Midland Funding LLC, Amount
                                                         claimed: $8991.54 (Rajic, Gordana )
                                                         --------------------------------------------------------------------------------* * *


6         Midland Funding LLC              Unsecured     2717                                                $3,602.76                      $0.00        3,602.76
 610      PO Box 2011                                    PO Box 2011
          Warren, MI 48090                               Warren, MI 48090
                                                         --------------------------------------------------------------------------------
                                                         History: Details6-112/22/2017Claim #6 filed by Midland Funding LLC, Amount
                                                         claimed: $3602.76 (Rajic, Gordana )
                                                         --------------------------------------------------------------------------------* * *


NOTFILED Chase Card                        Unsecured     4211                                                     $0.00                     $0.00            0.00
610      PO Box 15298
          Wilmington, DE 19850-5298

<< Totals >>                                                                                                45,121.21                        0.00       45,121.21
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                                 TRUSTEE'S PROPOSED DISTRIBUTION                                        Exhibit D

            Case No.: 17-40327-KKS
            Case Name: WILSON, DON THORNTON
            Trustee Name: Mary W. Colon, chapter 7 trustee
                                               Balance on hand:                          $             1,717.53
             Claims of secured creditors will be paid as follows:

 Claim        Claimant                               Claim Allowed Amount Interim Payments             Proposed
 No.                                               Asserted       of Claim          to Date            Payment
   1         Doris Maloy, Leon County              1,197.99          1,197.99                0.00             0.00
             Tax Collector
                                               Total to be paid to secured creditors:    $                 0.00
                                               Remaining balance:                        $             1,717.53

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments       Proposed
                                                                                        to Date      Payment
Trustee, Fees - Mary W. Colon, chapter 7 trustee                       456.88                0.00           456.88
Trustee, Expenses - Mary W. Colon, chapter 7 trustee                    85.60                0.00            85.60
Charges, U.S. Bankruptcy Court                                         335.00                0.00           335.00
                           Total to be paid for chapter 7 administration expenses:       $              877.48
                           Remaining balance:                                            $              840.05

              Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments       Proposed
                                                                                        to Date      Payment
                                                       None
                           Total to be paid for prior chapter administrative expenses:   $                0.00
                           Remaining balance:                                            $              840.05




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $              840.05
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 43,045.74 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 2.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  2            Discover Bank                                          15,774.66                 0.00         307.85
  3            Discover Bank                                           8,487.69                 0.00         165.64
  4            Capital One Bank (USA), N.A.                            6,189.09                 0.00         120.78
  5            Midland Funding LLC                                     8,991.54                 0.00         175.47
  6            Midland Funding LLC                                     3,602.76                 0.00          70.31
                             Total to be paid for timely general unsecured claims:          $              840.05
                             Remaining balance:                                             $                0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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